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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                                           PLAINTIFF

 v.                                 Case No. 2:11-CR-20043

 JAIME ACEVES-MARTINEZ                                                            DEFENDANT

                                           ORDER

        The Court has received proposed findings and recommendations (Doc. 103) from Chief

 United States Magistrate Judge James R. Marschewski. Also before the Court are Defendant’s

 objections (Doc. 104).

        The Court has reviewed this case and, being well and sufficiently advised, finds that

 Defendant’s objections offer neither law nor fact requiring departure from the Report and

 Recommendation.

        The Court finds that the Report and Recommendation (Doc. 103) is proper and should be and

 hereby is ADOPTED IN ITS ENTIRETY. Accordingly, for the reasons stated in the Magistrate

 Judge’s Report and Recommendations, Defendant’s motion to vacate (Doc. 95) and motion to

 supplement (Doc. 101) are DENIED.

        IT IS SO ORDERED this 13th day of September, 2013.


                                                             /s/P. K. Holmes, III
                                                             P.K. HOLMES, III
                                                             CHIEF U.S. DISTRICT JUDGE




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